Case 9:12-cv-80364-KAM Document 1-6 Entered on FLSD Docket 04/05/2012 Page 1 of 47
 Respectfully submittei
                           Fl
                            'onda
                               ( B snkers A ssociation

                                                 ,
                                                     -
                                                          .
                                                                J
 AlejandroM.&- -*'-                          Virgi B.Tow nes,Esquire
 Presidentand f!m                            Florid BarN o.;361879
 FloridaBnnk- A- x   -e 'on                  AKE          ,SENTERFITT
 1001'l-hnm œqm-lleke ,Suite 201             420 South Orange Avenue
 Suite 20l                                   Suite 1200       (32801)
 Tallahn*- ,FL 32303                         PostOfficeBox 23l
 Phone:(850)22* 2265                         Orlando,FL 32802
 Fax:(850)22+ 2423                           Phone:(407)423-4000
 nmqnchezée oridnhnnkers.com                 Fax:(407)843-6610

                          virginia.tow nes   erm an.com

                          CERTIFICAH OF jERVICE
         I IIEREBX CERTIFY that a trtze and correct copy of the foregoing

 com ments have been served on The Honomble Jennifer D .Bailey,Task Force

 Chair,73 W .FlaglerStreet,Suite 1307,M iam i,Florida 33130-4764,this 28th day

 ofSeptem ber,2009.



                                      ' x . XV'' /
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                                V irgirti Tow nes,Esquire
                                Florida arNo.361879




 101456:95:1)                            9

                                  ExhibitE,12 of12
Case 9:12-cv-80364-KAM Document 1-6 Entered on FLSD Docket 04/05/2012 Page 2 of 47
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 Case 9:12-cv-80364-KAM Document 1-6 Entered on FLSD Docket 04/05/2012 Page 3 of 47

A urora .t-oan Services
 November16 2010                          2677COLLEGEPARK*RO.BOX1706 *SCOUSBLUFF,NE69363-1706
                                                              PHONE:800-550-0508 * FM :303-728-764:
              '




 JohnJ.Kol an
 934 SW 21-W ay
 BocaRaton,FL 33486


 RE.
   '    LoanNo ber 0039153379                           .
        W OPO * * 5& 934 SW 21* W xys Rpco n o-
                            .                       ,       f ..,--   - -'     -' - ' '-- - -- -

DearM r.Korman:

n islettorx spondstomultipleoonw pondonceitemsreoeived 9om youinNovember2Q1û.

KnhrlWutscherLLP(KW-LLP)pmviouslyprovidedyouwithvariousdocuments, inform ation
anddisclosuresinwritingonM amh24,2010, April23,2010sM ay 1*,2010,pune9, 2010 and
Septem ber 1,2010.

AuroraIranServicesLLC tAuroraLoanServices)asksthatyouplemqoreview thosùhems
carefully.W ebelieve yourconcem swere addressed by K W -LLP'S, and AuroraLoan Services'
priorcorrespondenoe,andthedocumentaand informafontheyprovided. PleaseD view the
pxtensivedx umentauonandinformation previouslyprovidedtoyou.
Ifyouhavenew concomsxlnpng . toQlexw icingofthe  'abovoxferm ced lnsnaccount
describeyourconcernsinwritingtousindiezttlngthereasonsyoubelievetheaocountisymple
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Colx spondenceshouldbesenttotheaddressintheletterhead above.                         .

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AuroraLoan Servie

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bimkmzptcydrreceiko abnnkmzptcydiscY geofY sdebtthiscommunicationisnotan
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Case 9:12-cv-80364-KAM Document 1-6 Entered on FLSD Docket 04/05/2012 Page 4 of 47
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                           ExhibitH,pg 1 of2
Case 9:12-cv-80364-KAM Document 1-6 Entered on FLSD Docket 04/05/2012 Page 5 of 47


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                    ExhibitH ,pg 2 of2
Case 9:12-cv-80364-KAM Document 1-6 Entered on FLSD Docket 04/05/2012 Page 6 of 47




                                                                           TheInnp rpnterBuilding
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   K ahrl W utscher LLP                                                                   suitezlt)tl
                                                                             Chicago,llllnois 60602
                                                                                    Tel.(888)339-5282
                                                                                   Fax.(866)581-9302
                                                                                    w wm kw-llp.com

                                                                                       A.JohnShutt
                                                                                   ComplianceAnalyst
                                                                                 Dired:(702)335-3940
                                                                                   ashutt@kw-llp.com
   M arch 24,2010
                                                                                    ViaRegulu M ail

  JohnJ.Korman
  934SW 21stW ay
  BocaRaton.FL 33486


  RE: VarlousCom me cadons
         Bormwers:JohnJ.Kormnn
         Property Address:934 SW 21stW ay,Boea Raton,FL 33486
         Iaoo No.0:3*153879

  Dearlohnl.Korman:
         W e representAm'ora Loan Services LLC (eAurora-) in connection with the above-
  referenced matter.Thisisnotanattemptto collectadebt.Thisletterrupondsto yourA& laWt
  Resciuiop ofs'
               zo afareandpla/zpStatementofFactsdated February 1,2010,Aurora'
                                                                            sArzsw'
                                                                                  e,
                                                                                   r
   Jb Korman'
            s FïrszSetofInterrogatories dated December 12,2008.Corporate xss/gzzzz?ealof
  Moz/gagedatedJuly9,2008,AmdavitOfFa/âerA ToddF-xpez'lWltnqssForDefezltfantsdated
  December5,20ù3andtheNodce to Ceaseaz, Deà1stdaied February 1,2010,copie,sofwhich
                                                                       .

  are included hereforyourease ofreference.

         As you know,Atlrora hu prevjpusly provided you with extensike infonnation and
  disclosure,s regarding the loan or dest referenced above. Nevertheless,please read the
  following disdosuréscarefully:
                                                                   .                      ..        '


                                                                                                '
                                                               .
  This law Rrm and its lawyers are notdebtcollectors,and thlA is notan aqempjto collectany
  debt However,any informadonobtained may beused forthepurposesofdebtcollecqon.

  A payoff statement f6r thiA debt which willindicate the amountof the debt and related
  inform ation,isbeing generated and willbe provided to you undersepa te cover. The payoff
  statem enfinclude,sim rtantadditionalirzform ation.
                     C A L IFO R N lA   IL LlN O lS - W A S H IN G T O N ,D:C.

                                   Exhibit1,pg 1 of5
Case 9:12-cv-80364-KAM Document 1-6 Entered on FLSD Docket 04/05/2012 Page 7 of 47




                                                                                   A.Jolm Shutl
       K ahrlW utscher tLP                                                    ComplianceAnalyst
                                                                                     Page 2of5


   Pleasesendanypaymentto Aurora?attheaddressindicated on thepayoffstatement.

   Because ofinterest,late charges,and othercharge,sthatm ay vary from day to day,the amount
   due on the day thatyou pay m ay .be greatet than the am ount shown on the payoff statem ent.
   Hence,ifyoupaytheamotmtindicatedonthepayoffstatement,anadjustmentmay benecessary
   afterAurora receivesyourpayment,in which eventAurora willinform you befoye depositing
   any check forcolleG on.

   Forhlrtherinform adon,pleu e contact:

          Aurol'aCustomerServicp
   .      2617 CollegePark
          PostOm ceBox 1706
          Scottsble ,NebM ka69363-1706
          Telephone:(800)550-0508
  Unless you dispute the validit.yofthedebt,orany portion thereof,within 30 daysafterreceiptof
  thisnotice.the debtw illbe assum ed to bevalid.

  Aurora has the rightto enforce the Note evidencmg the debt,and has the right to receive
  pam eptofthe debtforandon behalf. oftheownerofthedebt.
  Thennmeofthecurrentownerofthedebtis:Lehman BrothersHoldingsInc.745 Seventh Ave.,
  71 Roor,New York,NY 10019.

  W e includewith thlAlettervadous documentsverifying and evidencing the debt.including but
  notlim ited to copia ofthe note,security instnlm ent and paymenthistory.
                 '

  Thename and addressofihe originalcreditor1:Lehman BrothersBank,FSB.400 Professional
  Drive,Suite500,Gaithersburg,M D 20879.
  Please note that this letter and the related docum ents are provided for inform aqonal pur
                                                                                           'poses
  only,and in response to your inquiry. Ifyou are making payments on the debtptusuantto a
  Chapter 13 bnnknlptcy plan,plexse also note thatthe documentsmay notreflec'tdevelopments
  thatmay recently haveoccurred in cormection withyourChapter13 bapkuptcy. ln sucha case,
  ple%e contactus'forthemostuptodateinformntion.                      '


          Section6 ofRFSPA (12U.S.C.j260$)require-sthata''qualifiedwritten request*must
  relate to the seM cing ofthesubjectloan,and should include a statementofthe reasonsthe
  borrowerbelievesthe accountisin error. M any pfyourquestionsdo notrelate to theservicing


                              Exhibit1,pg 2 of5
Case 9:12-cv-80364-KAM Document 1-6 Entered on FLSD Docket 04/05/2012 Page 8 of 47




                                                                                      A.Jolm Shutt
   K ahrlW utscher LLP                                                           ComplianceAr lysf
                                                                                        Page3of5

  ofthis pnrtlcular loan,and requestdocum ents rather than infonnadon as allowed by the statute.
  Similarly,pleasenotethatAuroraisonlytheseM cerofthesubjectloanandthatthequestions
  and allegatlons relating to the odgination ofthe loan are notw itllin its pulview .and thatin any
  eventyou should submtta loan modification application in accordance with the instructions
  provided.

         Nevertheless.subjectto and withoutwaiving any objections,Aurorarespondsto your
  variouscom m unications asfollows'
                                   .

          Communlcaùon pa/e February 1,2010: '
                                             W/davïtResciuion ofSïgnatuz'eandPla/n
  StatementofFacts.''

         Yotircommunication titled A/fdapït Resduion ofs'
                                                        zynaltzre and lYaïzlStatementof
  Facts is vague,ambiguous and consequently Aurora is notable to dlscern whatis intended
  Withoutadditionalclarificadonfrom you.Nevertheless,Auroradoesnotauthodzetherem ovalof
  the originalsignaturets) on the note,mortgage/deed oftrust,orany other loan documents.
  Accor& gly,Aurorarejectsanysuchattempttoremovesaidsignatures.
         Fo her.your*oG dalNotice ofFraudoisvague.ambiguousand unsupported by any
  fac? orevidencefrom you.Accordlngly,such unsupported allegationsaredenied and wehereby
  dem and thatyou spece cally enumerate whatyou believe to be fraudulenton tbiA loan,and
  Providesuchlnformationtothisom ce.Furthermore,weherebydemandthatwlthinten(10)days
  afteryou receivetllisletteryou remove thefraudulentfiling/recording,ifany,and send proofof
  relovalto tllisom ce.

         Yourrequestto ''Cancel/postponeForeclosure*isvague,ambiguousandunsupportedV
  any fac? orevidence from you.Acqordingly,such unsuppohed allegations are denied and we
  hereby demapd thatyou specifkally enumerate whatyou believe to be fraudulenton thiA loan,
  and provide such inform ation to this office.ln response to this request,Aurora states thata copy
  ofthe noteand Security Instnlment,includlng alladdenda and/orriders,which you executed to
  receivethe loan,are rnclosed with thisletter.Aurora statesthatitisthe currèntservicer,m%ter
  servicerand/orsub-servicerofthisloan and thatthecurrentowneroftheloan isidentifiedin the
  textbox disclosuresabove.Asthe servicer,Aurora hasthedghtto enforce the note evidenèing
  the debt,and has the dghtto receive pam entofthe debtfor and on behalfofthe ow ne.         r of the
  debt. Aurora further states that a copy of the loan history is enclosed w ith this letter for your
  review .

         ln noway doesAuroratacitly agreethatfailureto respond toyou withintwentp onedays
  ofreceipt,allowsyou to pre-sume thatAurora'accepts ''personalliabilityjointly orseverally
  externalto qualified immunity and waiverofany decision rightsofrem edy.*Nordoe. s Aurorà
  agree to be bound by any ofyourfictitious remediesand/ordamage-s.Simply,yourunilateral
  creationofth1 dofulmentisnotbindingandiswithotitlejalconsequence.

                                  Exhibit1,pg 3 of5
Case 9:12-cv-80364-KAM Document 1-6 Entered on FLSD Docket 04/05/2012 Page 9 of 47




                                                                                       A.Jolm Shutt
     K ahrlW utscherLLP                                                         ComplianceAnalyst
                                                                                       Page 4of5
           Comm unicadonsDated Dc emberR 20@ : ''
                                                Aurora'
                                                      sWzzseer To A'orzzz.
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                                                                            sA rstSet
     Hnterrogatories.-

          Yourcommtmicationstitled Aurora% Ar?lwer 7b Korman '       s F/rstSetofInterrogatories
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           CommunicadonsDa/eJltz!
                                .r#,2008: ''Com orateWsszyzzrzzepzofM ortgage.'
          Your communications titled Corporate XxWgzzzzlen/ of M ortgage appears to be for
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   informationalpurposesand thereforenoresponseisrequired.y

           Communkadons Xated Decem bèr .
                                        $ 2003: Xx//zdaWl Of Valler F Todd S& ert  .

   WltneM FOrDefendanl.'
                       *
          Yourcommunicationstitled M davit0/*FaâerA ToddfxperfW tnessForDe/enlapts
   appearstobeforinformationalpurposesandthereforeno re-sponseisrequired.

          Com municadon pa/e/Feânzar.r7,2010.
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           Yotlrcommunkauon titled Noticeto C'     easeandDesïstregarding validation ofthe debtis
   vague,àmbiguous and consequently Aurora is notable to discerflwhatis intended without
   additionalcladfication from you.Neverthelus.Aurora again state,s that a copy of the note and
   Security Ins% ment,including a11addendaand/orriders, w hich you executed to receive the loan,
   are enclosed w ith this letter.Aurora states thatit Ls the currentservicer, masterservicerand/or
   sub-servicerof this loan.and thatthe current owner of the loan is ideno ed in the textbox
   disclosuresabove.Asthe servicer,Atlrola has the dghtto enforcethe note evidendng the debt,
   and has the right to receive paym ent of the debt for and on behalf of the ow ner of the debt.
   Aurorafurtherstate,sthatacopyoftheloanhistory isenclosedwith thisletterforyourreview.

          lfYou are seekinq to effectuate therelease ofthe mortgage/deed oftrust(*secudty
  instnlment*)and rmncçllatzonofthenptethatsecure.
                                                 sthe above-capdon homeloan now being
  sewiced by Aurora,yourrequutis hereby rejected for the reaon thatyou have notmade
   paymentaccording to the contractualterms ofyourhome loan.Therefore, you are expected to
   comply with the conkactualtermsandprovisionsofyourhomeloan.

         Due to the nature ofyourcom m unications, we strongly recom m end thatyou consultwith
  alocalattom ey aboutyourhomeloan dghts,oblfgatlonsand liabilities. Ifyou already havelegal
  counsel representing you, plea e provide their contact information so that further
  com m unk ations can besentdirectly to that.
                                             individual.

         Forsimplefactualinquiriesregarding.
                                           theservicingoftheloantslatiuue,pleasecontact
  Aurora'
        sCustomerServiceHelp Dçskat:

                                Exhbit1,pg 4 of
Case 9:12-cv-80364-KAM Document 1-6 Entered on FLSD Docket 04/05/2012 Page 10 of 47




       KahrlW utscher LLP                                                         A.Jolm Shu/
                                                                              ComplianceAv lysf
                                                                                     Page5of5

             Aurora CustomerService
             2617CollegePark
             PostOm ceBox 1706
             ScottsbluftNebmska69363-1706
             Telephone:(800)550-0508
             Origination and theunderwridng and closing ofthe loan transacdon questionsshould be
      directed to:
             ExecutiveCo'mmtmications
             10350 Park M eadowsDrive
             Littleton,Colorado 80124
             Telephone:(866)420-3167
             Othem ise,pleasecontacttheundersignedattheaddressand/ortelephonenumber#ven
      above.

             lf you are interested in requesdng a loan modiflcation,please r11l out the enclosed
      Borrower'sFinancialStatement,andreturnittotheundeDigned.Also,pleaeprovide:(1)copies
      oftheborrower'sjaystubsforthelasttwomonths;(2)iftheborrowerksself-employed,complete
      copie.softheborrowef'staxrettzrnsforthelasttwoyears'
                                                         ,(3)cojiesoftheborrower'scomplete
      bankstatementsfortllelasttwo months;and (4)ahardshipletter,explal
                                                                      'nl
                                                                        'ng whytheboaower
      fellbelund on theborrower's mortgage pam entsand how the borrowerbelievess/he willnow
      beabletomakethosepayments.
             Thankyou foryolzranticipatedcooperation.

                                               Sincerely,
                                                    .                    r
                                                                    .

                                                            .   N




                                               A.JohnShutt
                                               ComplianceAr/alysl
  '
      Enc.


                         Exhibit1,pg 5 of5
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                                                                              The Loop CenterBuilding
                                                                                105 W .Madison Street
                                                                                            Suëe2100
   KahrlW utscherLLP                                                            Chicago,Ilinois 60602
                                                                                    Tel.(888)339-5282
                                                                                    Fax (866)581-9302
                                                                                          w- .> -IIp.= m
                                                                                          Em lly Gare on
                                                                                  EGarri
                                                                                       son@ kw-llp.com
  September 1,2010                                                                  Via Regular M ail

  John J.K orm an
  934SW 21stW a#
  BocaRaton,FL 33486
  R E: VarlousCom m unio tions
       Borrow ers:Jokn J.K orm an and Pam ela K orm ah
       Pr
       L opeo Loeation:934 SW 21stW ay,BocaRaton, FL 33486
        oan No.0:39153879
  D earJohn J.Korman:

         Asyourecall,werepresentAuroraLoanServiœsLLC CW urora''linçonnectionwithth
 above-named m atter. n is law 5m 1and its lawyers are notdebtcollectors                     e
 atte                                                                      , and this is notan
     mptto collectany debt. However, any inform ation obtained m ay be used forthe purpose of
 debtcolled ion. n is Ietterrespondsto youruntitle comm unicati
 2010andJuly19,2010,copiesofwhichareincludedhereforyourocnonv     spt qleonc
                                                                     en   rteedlydatedJuly12,
                                                                              .

        w e prev'iously provided you w itllvarious dooum ents, information and disolosures in
 writing on M arch 24, 2010,April23,2010, M ay 18,2010,Junt9,2010 and July 12
 msk again th                                                                      , 2010,and
              at you plenKe review those item s carefully. W e believe your conc    erns were
 addressed in ourpriorcoqespondence and the documentsand informati
 A copy ofourpriorcorrespondenceismcl: udedagainhere foryotlreaseof   onrew eprovided with it.
                                                                          ference.
         ln addition, we included w ith our prior correspondence a complete copy of the loan
 origination Gle for the loan referenced a% ve, including without lim itation copies of the note
 security instrum ent disclosum s, application m aterials,credit repoxs unde- riting documents,
 appn isals,and closing docum ents. W e also inoluded with our prior,cor    respondence a detailed,
 Pam  e nt hi st
               or y for thatloan.
                                  W ealsodescribedthecurrentholderandserviceroftliedebt, the
 provided additienalinformation t
 name   of the   curre nt owne r of he debt the name and address of the original creditor, and
                                    and documentation evidencing orotherwlse verifying the debt.
 I
  n sho rq  we    pro vlde   you
 ownership origination,and serviciwith extensive information and documenàtion regarding the
            ,                        ng ofthe loan, in clearand concise Ianguage.
        Please note thatrequests to A urora m ustrelate to the servicing ofth
and shouldincludeastatementofthe reasonsyou believe the accountis ineesubjecthomeloan
                                                                      rror            .   In reviewing
yourcommunicationts),youdo notappearto makeanyrequesa orraiseany issuesrelatedtothe

                     C A LlF O R N lA - lLLIN O IS - W A S H lN G T O N , D .C.

                                      ExhibitJ,pg 1 of2
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     K ahrlW utscherLLP                                                            EmllyGarrison
                                                                                       Page2 of2


    servicingofthesubjectloan and inste>d assertincorrectand unsupportableallegationsrelating
    solely to suppoKed acts a
    thatyourcomm            nd om issions ofpersonsorentities otherthan A urorm W e furthernote
                   unicationts)andrelatedallegationsagain failto mentionanyissueorpurported
    era
    strt
       oer relating to the servicing of the mortgage loan referenced above. To tht extent that
    otherme
          wisne
              ts in your letter consis't of allegations of wrongdoing of any nature by Aurora or
    d          , Aurora denies your allegations, and reslv tfully requests that m u review the
     ocum
    expl anaent
             tis and inform ation provided w ith this and/orany previous corresx ndence for further
              on and clarification.

           Nevee eless,subjectto and withoutwaiving any objections, Aurora responds to your
  alleged additionalrequestsasfollow s:                          '                      '



  Request: ''F/?o isAurora Loan ServicesLLC sew icing f/le ab
                                                               ove-re# rencedaccountfor?''
  Reslrmse:Subjed to and withoutwaiving any objections, A urora states that it previously
  provldedtoyouthenameofthecurrentownerofthesubjed loanand statesagainherethatth
  nam e ofthe currentownerofthe debtis:Lellm an BrothersH oldings lnc.745 Seventh Ave e
  Floor, N'
          ew YorkyNY 10019                                                           ., 7th
                               .



         lt is Aurora's position that its previous responses
  information,and disclosuresprovided therew ith have been r,esas    well as the docum entation
                                                                  ponsive to allofyour inquiries,
                                                  ,
 Tberefore.Aurora w illnotrespond to anv further comm unications from vou thatm e
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 vourpriorrequests.dem andsorallegations orwhich arevazue and am bi
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 have n                                                                   zuous.However,ifyou
        ew concer
 yourconcer  ns i nsrelating to the servicing ofthe above-referenced Ioan account please descnbe
                                                                                              '
 the reasonsyounbe writing to usatthe addressand/orfaxnumberabove by specifically indicating
                   lievetheaccountisin error.
         A urom states thatv subjecttoandwithoutwaivinganyobjèdi
                                                               ons itreservesany and all
                                                                         ,
 rightsandpowersof>Ieaffordedto itbythenoteandsecurityinstrumentrelatedto theabove
 referenced loan accountand propeo , sublectto applicable state and federallaw .
        Due to the nature ofyourcom munications, we A ongly recom m end thatyou consultw ith
 a localattorney aboutyourhome Ioan rights obligationsand li
 counsel reyresenting you, plemqe provl2de their contactabiilnfiti
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 com m unicatlonscan be sentdirectly to thatindividual.

                                             Sincerely,
                                                    *'




E                                            Emily Garrison
  nc.



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                                       ExhibitJ,pg 2 of2
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          M O D ER N M O N EY M EC H A N IC S
          A W orkbook on Bank ReR - es and Deposit Expansion
                         FederalRese- e Bank of Chio qo

          Thiscompletebookletiswisoriginally produced and distributed freeby:
                              PublicInformation Center
                          FederalReserve B ank ofChicago
                                    P.0.Box 834
                               Chicago,IL 60690-0834
                               telephone:312 322 5111
    Butitisnow outofprint.Photo copiescan bemadeavailableby monpueso mvhom e.net.
lntroduction
The purpose ofthis bookletis to describe the basicpn cess ofm oney creation in a
'Yractionalœ se- e''banking system .The approach taken illustrates the changes in bank
balance sheets thatoccurwhen deposits in banks change as a resultofm onetary
action by the FederalResek e System -the centralbank ofthe United States.The
relationshlps shown are based on simplifying assumptions.Forthe sake ofsimplicity:
the œ lationshlpsareshown as ifthey eere mechanical,butthey are not,asis descnbed
Iaterin the booklet.Thus,they should notbe interpreted to im ply a close and
predictable relationshlp between a specificcentralbanktransaction and the quantityof
m oney.
The introductoy pages contain a briefgeneraldescrl
                                                 ption ofthe characteristics of
m oney and how the U.S.m oney system works.The illustrations in the following fwo
sections describe two pm cesses:grst,how bank deposits expand orcontractin
œ sponse to changes in the am ountofreserves supplied by the centralbank;and
second,how those reserves aœ a'ected by both FederalResewe actions and other
factors.A finalsection deals with som e ofthe elem ents thatm odify,atIeastin the shoêf
run,the simple mechanicalrelationshlp between bankreaewesand depositm oney.
M oney is such a routine partofeveryday Iiving thatits existence and acceptance
ordinarily are taken forgranted.A usermay sense thatmoney m ustcom e into being
eitherautom atically as a resultofeconom ic activity oras an outgrowth ofsom e
govem mentoperation.Butjusthow this happensalltoo often remains a mystery.
W hatis M oney?
lfmoney is viewed sim ply as a toolused to facilitate transactions,only those media that
are readily accepted in exchange forgoods,services,and otherassets need to be
considered.M any things -from stones to baseballcards -have served this monetary
function through the ages.Today,in the United States,m oney used in transad ions is
mainlyofthree kinds-currency (papermoneyand coinsin the pocketsand pursesof
the publicl;demand deposits(non-interestbearing checking accountsin banksl;and
othercheckable deposits,suchas negotiable orderofwithdrawal(NOW )accounts,at
aIIdepository institutions,including com m ercialand savings banks,savings and Ioan
associations,and creditunions.Travelers checks also are included in the definition of
transactionsmoney.Since $1in currencyand $1 in checkable deposits are freely

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convertible into each otherand both can be used directly forexpenditures,they are
m oney in equaldegree.However,only the cash and balances held by the nonbank
public are counted in the m oney supply.Deposits ofthe U.S.Treasury,depository
institutions,foreign banks and olcialinstitutions,as wellas vaultcash in deposi
                                                                              tory
institutions are excluded.
This transactions conceptofm oney is the one designated as M 1 in the Federal
Reserve's money stockstatistics.Broaderconcepts ofmoney (M2 and M3)include M1
aswellascertain otherfinancialassets (such as savings and time deposits at
depositoryinstitutionsand shares in money marketmutualfunds)whichare relatively
Iiquid butbelieved to representprincipally investm ents to theirholders ratherthan m edia
ofexchange.W hile funds can be shiqed fairly easil  y between transaction balances and
these otherIiquid assets,the m oney-creation processtakes place principally through
transaction accounts.In the rem ainderofthis booklet,''m oney''m eans M 1.
The distribution between the currency and depositcom ponents ofmoney depends
Iargely on the preferences ofthe public,W hen a depositorcashes a check orm akes a
cash w ithdrawalthrough an autom atic tellermachine,he orshe reduces the am ountof
deposits and increases the am ountofcurrency held by the public.Conversely,when
people have m ore currency than is needed,som e is returned to banks in exchange for
deposits.
W hile currency is used fora greatvariety ofsmalltransactions,mostofthe dollar
amountofm oney payments in oureconom y are m ade by check orby electronic transfer
between deposi  taccounts.Moreover,currency is a relatively sm allpad ofthe m oney
stock.About69 percent,or$623 billion,ofthe $898 billiontotalstock in December
1991,was intheform oftransactiondeposits,ofwhich$290billionwere demand and
$333 billion were othercheckable deposits.
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havesomeintrinsicvalueasmetal,butgenerallyfarIessthaniheirfacevalue.
W hat,then,m akes these instruments -checks,paperm oney,and coins -acceptable at
face value in paym entofaIIdebts and forotherm onetary uses? M ainly,itis the
confidence people have thatthey willbe able to exchange such m oney forother
financialassets and forrealgoods and services wheneverthey choose to do so.
Money,Iike anything else,derives its value from its scalcity in relation to its usefulness.
Com m odities orservices are m ore orless valuable because there are m ore orIess of
them relative to the am ounts people want.M oney's usefulness is its unique ability to
com m and othergoods and services and to perm ita holderto be constantly ready to do
so.How m uch m oney is dem anded depends on severalfactors,such as the total
volume oftransactions in the economy atany given tim e,the paym ents habits ofthe
society,the am ountofmoney thatindividuals and businesses wantto keep on hand to
take care ofunexpected transactions,and the forgone earnings ofholding financial
assets in the form ofmoney ratherthan som e otherasset.
Controlofthe quantity ofm oney is essentialifits value is to be keptstable.M oney's real
value can be m easured only in term s ofw hatitw illbuy.Therefore,its value varies
inversely with the generalIevelofprices.Assum ing a constantrate ofuse,ifthe volum e
ofm oney grows m ore rapidly than the rate atwhich the outputofrealgoods and


                                                  ExhibitL,pg 2 of4
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      Bank D eposits - H ow They Expand or Contrau
Letus assum e thatexpansion in the money stock is desired by the FederalReserve to
achieve itspolicy objectives.One way the centralbankcan initiate such an expansion is
through purchases ofsecurities in the open m arket.Paymentforthe securi
                                                                      ties adds to
bank reserves.Such purchases (and sales)are called ''openm arketoperations.''
How do open marketpurchases add to bank reserves and deposits? Suppose the
FederalReserve System ,through its trading desk atthe FederalReserve Bank ofNew
York,buys$10,000 ofTreasurybillsfrom a dealerin U.S.governmentsecurities.t3)ln
today's world ofcom puterized financialtransactions,the FederalReserve Bank pays for
the securities w ith an ''telectronic''check drawn on itseltt4)Via its ''Fedwire''transfer
network,the FederalReserve notifiesthe dealer'sdesignated bank(BankA)that
paymentforthe securitiesshould be credited to (deposited in)the dealer'saccountat
Bank A.Atthe same tim e,BankA's reserve accountatthe FederalReserve is credited
forthe am ountofthe securi
                         ties purchase.The FederalReserve System has added
$10,000 ofsecuritiesto itsassets,which ithaspaid for,in elect,by creating a liability
on itselfin the form ofbank reserve balances.These reserves on Bank A's books are
matched by $10,000 ofthe dealer'sdepositsthatdid notexistbefore.See ///t?.
                                                                         s/?'
                                                                            a#o??1
 How the M ultiple Expansion Process W orks
 Ifthe process ended here,there would be no ''m ultiple''expansion,i.e.,deposits and
bank reserves would have changed by the sam e am ount.However,banks are required
to m aintain reserves equalto only a fraction oftheirdeposits.Reserves in excess ofthis
am ountm ay be used to increase earning assets -Ioans and investm ents.Unused or
excess reserves earn no interest.Undercurrentregulations,the reserve requirem ent
againstm osttransaction accounts is 10 percent.ts)Assum ing,forsim plicity,a uniform
10 percentreserve requirem entagainstaIItransaction deposi   ts,and fudherassum ing
thataIIbanks attem ptto rem ain fully invested,we can now trace the process of
expansion in deposits which can take place on the basis ofthe additionalreserves
provided by the FederalReserve System 's purchase ofU.S.governm entsecurities.
The expansion process m ay ormay notbegin with Bank A,depending on w hatthe
dealerdoes w ith the m oney received from the sale ofsecurities.Ifthe dealer
immediately writes checksfor$10,000 and aIIofthem are deposited in otherbanks,
Bank A Ioses both deposits and reserves and shows no netchange as a resultofthe
System 's open m arketpurchase.However,otherbanks have received them M ost  .

likely,a partofthe initialdepositwillremain w ith Bank A,and a partw illbe shiqed to
otherbanks as the dealer's checks clear.
Itdoes notreally m atterwhere this m oney is atany given tim e.The im portantfactis that
these deposits do notdisappear.They are in some depositaccounts ataIItim es.AIl
bankstogetherhave $10,000 ofdepositsand reservesthatthey did nothave before.
However,theyare notrequired to keep $10,000 ofreserves againstthe $10,000 of
deposits.AIIthey need to retain,undera 10 percentreserve requirement, is$1000.The
remaining $9,000 is''excessreserves.''Thisamountcanbe loaned orinvested.See
illustratiol)2
lfbusiness is active,the banks with excess reserves probably w illhave oppodunities to
Ioanthe $9,000.Ofcourse,they do notreally pay outIoans from the moneythey
receive as deposits.Ifthey did this,no additionalmoney would be created è'r
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                         ExhibitL,pg 3 of4
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4lndeed,manytransactionstodayareaccompl  ishedtbroughanelectroni
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ofapapercheck.Apartfrom thetime ofposting,theaccountingentriesare the sam ewhetheratransferismadewithapapercheckor
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5Foreachbank,thereserverequirementis3percentonas ' baseamountoftransadionacœuntsand10percentontheamount
abovethis base.Initiall
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Deposit Expansion

1.WhentheFederalReserveBankpurchasesgovernmentsecuri
                                                   ti
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increase.This happens because the sellerofthe securities receives paymentthrough a
creditto a designated depositaccountata bank (BankA)whichthe FederalReserve
effects by crediting the reserve accountofBank A.
                       FR BA N K                                                       BAN K A
A ssets                       Liabilities                      A ssets                        Liabilities
U S govt                       Reserve acct.                  Reservesw ith                  Custom er
securities..+10,000            Bank A..+10,000                FR Banks..+10,000              deposit..+10,000
The custom erdepositatBank A likely willbe transferred,in palt fo otherbanks and
quickly Ioses its identity am id the huge intei ank #oe ofdeposits.back


2 .Asaresult,allbankstnkentogether                   Totalreservesgained from new deposits.......10,000
now have ''excess'reserveson which                   less:requiredagainstnew deposits(at10%)...1,000
                                                     equals:Excessreserves.................9,000
depositexpansion can take place.
baqà
                                            Expansion -Stage 1
3-Expansiontakesplaceonlyi
                         fthebanksthathol
                                        dtheseexcessreserves(Stage1
banks)increase theirIoansorinvestments.Loansare made bycrediting the borrower's
account,i.e.,by creating additionaldepositmoney.bacl
                                                   q
                                                 STA G E 1 BAN K S
                                 A ssets                                      Liabilities



                                       ExhibitL,pg 4 of4
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                                                                        The Loop CenterBuilding
                                                                          105 W .M adison Street
                                                                                       Suite 2100
K ahrlW utscher LLP                                                       Chicago,Illinois 60602
                                                                                Tel.(312)416-6170
                                                                               Fax (866)581-9302
                                                                                   -    .o -lIp.x m
                                                                                  Travis J.Ellason
                                                                                 Assc iateA#om ey
                                                                              Dired:(312)546-3902
                                                                               TEliason@ kw-llp.com
November11, 2010                                                                  ViaRegularMail

Jolm J.Korm an
934 SW 21stW ay
BocaRaton,FL 33486
RE: Aum ra Loan ServicesLLC - Loan N0.0039153879
    Berrower:John J.Korm an
    SETH EM EN TPUW OSES ONLY

DearM r.Kormam

       W erepresentAuroraLoan ServicesLLC CAumra'')inconnecion w1t11theaM ve-named
matter. n is1aw ftnn and itslawyersarenotdebtcolledors,and thisisnot>n attemptto collect
any debt. However,any information obtained may beused forthepum ose ofdebtcollection.

       Wepreviouslydeniedyourallegaionsanddeclinedtoacceptyom demandsrelatin:to
the above-referenced mortgage loan. Nevee eless,we provided you w1111a loan modifcahon
workoutletter and loss mitigation package fm m Am ora in comme cations dated M arch 24,
2010,April23,2010,September21,2010 and October 25,2010,and asked thatyou complete
these materialsand retllrn th= to us. W e also attempted to reach you by telephone on October
25 2010regarding yoursubmission ofaloan modiscation application. However, we have not
receivid aloanm odiscation applir-tion packagefrom you asto thismatter.

     Ifyou aie interested in ajplying for a loan modifcation,please complete BOTH the
HAM P and non-l.
               lAM p a/plicationsthatare included w1111thisletter. Please understand that
Amorawillnotbeabletoevaluatewhich,ifany,loanmodificaion programls)you areeligible
for tmtil it has received both applications in completed form , including al1 suppol ng
informntion @nd docum entationrequestedby rach application.
       Should ypu decide t: subm it a loan m odifG tion applicaéon, pleu e rehxrn the
applications and a11 supm rting doce entauon diredly to Kabrl W utschei, 105 W . M adison
Skeet Suite2100,Chicajo,IL 60602. Altemadvely,youmayfaxoremailthepackagetothe
abovrfax numberofem mladdress.



                    CA LIFO R N lA - ILLIN O IS - W A $ H IN G T O N ,D .C.
                                     ExhibitM ,pg 1 of2
Case 9:12-cv-80364-KAM Document 1-6 Entered on FLSD Docket 04/05/2012 Page 19 of 47




 K ahrlW utscherLLP                                                        TravlsEliason
                                                                        AssodateWltorrley
                                                                              Page2 of2

       Timeisoftheessence.Aurorawillnotpostponeorsusyendforeclosureproceedings,if
any,whileitawaitsyourdelivery ofa completed loan modifcahon application. Ifa foreclosure
sale has been scheduled,the completed applicaions,including a11supporting information and
documentation,mustbereceivedbyAuroraatleastfive(5)businessdayspriortotheforeclosure
sale(1a2 to allow Auroratim eto review theapplicauons.


                                         Sincc ly,
                                                         *
                                                 @


                                         TravisEliason
                                         AssociateAttorney
Enc.




                               ExhibitM ,pg 2 of2
                      Case 9:12-cv-80364-KAM Document 1-6 Entered on FLSD Docket 04/05/2012 Page 20 of 47
        K AurorooLocnservices
        R0.Box 1M
        sco- m NE -    17œ
        - .myAummtoanm m
                                                               11111111111111111
                                                              7107 8381 6540 8248 8745


                   October 19 , 20 10
                          2
                              3-704-52357-* 03726-* 1-1-*      -+   -000-0*
                   3640039 153879534LM550 10-19-10
                   Jobn J Korman
                   934 SW 21st Way
                   Boca Raton FL 33486-5238




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                                                                                                                   -D*-
                                                                                                                      u'--<'D--'''''-'
                                                                              Act NoW to get the Melp you need !

                   RE : HAMP Sollc ltatlon
                        Loan No . 0039153879
                        Property Address: 934 Sw 2 1st Way, Boca Raton FL 33486
                   Dear Customertslz
                  There ls helD avallable if you are Mavlng dlfflculty makip? your mortgage
                  aoan .pavments. You m4y be e11g141p for thé Home A'fordable Modlflcatlon
                  Program (HAMP), part of the lnltlatlve announced by Presl:ent Obama to
                   le lp homeowners.
                   As your morlgage loan servlcer (Aurora '
                                                          Loan Servlces LLC. Aurora Laan
                   Servsces. us. we). we w111 work *1th 7ou ln an effort to make your
                   mortgage payment a'fordable. You w111 not pay any Fees to take
                   advantage o' thls opMortunlty to modlfy your mortgage loah payment and
                   Keep your home . Now 7s the tlme to act. We are ready to help you .
                   Here's Mow lt worKs: We wlll flrst deterTlne $# you are elfg#ble based on
                   your sltuatlon . To conduct thls evaluat3on . we need vou to subm lt an
                   In ltlal Package conslstlng o':
                              Fully comp leted and slgned Request for Modlflcatlon and Affldav lt
                              Form (RMA) and addendum
                              Fully completed and slgned IRS Porm 4506-7 (Request for Transcrlpt
                              of Tax Return) for eacN borrower. Borrow#rs wNo flled ytMelr tax
.-
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                           u c.urns
     = x v-.fT-.LT.D ..-J.hy   >* .'%   Jolntl
                                             &-y  ma
                                               - +N 4.y
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                                                                  &n-M 'IRS
                                                                          '' For
                                                                              '. :'':506-7
                                                                                     ' ' - sfpnedg
                                                                                                ' èand
                                                                                                    > 'dated-
                                                                                                        .-. -.     ''''--.Q--'---

                   3. Documentary evldenFe of a11 lncome.
                              a) For a11 borrowêrs - A copy oc your most recently flled slgned
                                 federal tax relurn wlth a11 scbedules. lnclud lng Schedu le
                                 E-supp lemental Income and Loss and Schedule C-proflt and Loss
                                 from Buslness
                              b) For eacn borrower who recelves a salary or hourly wages - Coples
                                 of your two most recen! pay stubs that sbow year-to-date earnlngs
                              c) For each borrower wMo ls self-employed - A copy of tNe most
                                 recent Quarterlv or year-to-date Droflt/loss statemen!
                              d) For eacn borrower wno has lncome such as soclal securnty,
                                 d lsab lllty or death beneflts , penslon, adoptlon asslstance,
                                 or pub:lc asslstance -
                                                                                       Contlnued on reverse slde

                                                    ExhibitN,pg 1 of5
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 Loan No. 0039 153879                                                                            Page 2
                       1) A copy of the beneflts statement or letter from tNe
                              prov Ader tnat states tMe amounlv and
                   11) Coples of the t*o most recent bank Slatements showlng
                              recelpt .of sucb payment
    e) For each borrgwer wNo ss relylng on allmony. chlld support or
       separat1on ma'ntenance as quallfylng lncome*-
             1) A Fopy of the dlvorce decreé, separatlon agreement? otner
                           wrntten agreement elled.wlth .the court that states the
                          amount and frequency, and
                 11) Coples of the two most recent bank statements snowlnè
               recelpt of sucn Dayment
  iYou are not requlred to dlsclose cnlld support, allmony or
   separatlon malntenance lncome. unless you choose to Mave lt
   consldered bv your servlcer.
    ') For eacn borrower *no nas rental lncGne - Coples of the most
          recently Clled slgned federal tax return Wltn a1ï scbedules,
           lncludlng the Schedule E-supplement IncnMm and Loss
            Note: For borrowerp *1th rental propertley, only 75X of the.
          gross rdnks w111 be used 'or qgaRleylng 'lncome under yh1:'Nrùgham
    g) For eacn bor/ower who nas non-wage lncomé (p'             art t1me ee loyment? L                   .   . :,   .
        bonuse:. t1ps qpd.lnyeytmpnt lncomel- A copy of the documëhl'                    àtlpù'
        desçr
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documents. or haye questlons about the paperwork reoulred, please
contact us toll free at 1-800-550-0509 .                   Also. the RMA and 4506-1
forms are avallable for downlqadlng at wwwomyaurorFloan.com or :1)R
                                                                  s
be mall:d to y6u after you lndlcate your lnterest 3% thls forecloùure
a lternatlve optlon. '
If you are ellglble. We w111 look at your monthly lncome @nd nouslng
costs, lnçludlng pny past due payments, and tnen determlne an a'fordable
mortgage payment.
A1 f 1rst ! you *111 make ne* , affordable monthly payments on your mortgage
f
loan
 u 1.
      Uur,ng a !r1a1 per1od. If vou mMke those payments suecessfM1ly and
    fl1). è@ 11 Tr4al Per1od P1>n eond$t.
           .                            7ons, We W111 permanentl'
                                                                y mod1'
                                                                      ?Y your
mortga?        1oart.              . '             .       .           '              -           '
TNe modlflcatlon mav lnvolve some or a11 of tMe followlng cnanges to your
mortgage lopnt :) Brlnglng your account current; 2) Reduclng tne lnterest
rate on Your morlgage loan; 3) Extendlng the term of the loan, and/or '
4) delaylng your repayment o' a portlon of tMe mortgage prlnclpal untll
tNe end of the loan term .
1: we determ lne a'ter our flnal revlew tbat you do not quallfy 'or t>e
Home A'Fordable Modlflcallon Program . ke W111 dlscuss ôther foreçlosure
alternatlve opllons.                       .


                              J




                                         ExhibitN,pg 2 of5
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          Loan Number 0039 153879                                                 Page 3
          STEP : : QATHER THE INFO WE NEED TO HELP Y0U
          To take advantage of th ls opportunlty and the Home Aêfordable Modl'lcat1on
          Program . contact uA as soon as posslb1e. To help speed the process 1t
          W111*beLo
                  Na
                   el
                    npf
                      nul 1fjyou have the 'o110*$ng ln'ormat1on When you ca11:
                       umber
                *   Montnly pre-tax 1ncome of each bor/ower
                *   Informat 1on about anv êlnanclal Mardshlp you are suffer 1ng
            *
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                    'or your Mazard 1nsurance an< flood 1nsurance , #f appllcable
                    Your monthly Homeowners Assoclat1on payment , 1f aDpllcable
          If you do not quallfy for a loan modlflcatlon under tn ss program , or do
          not Want to stay ln your home , we W117 work *1th you to explore other
          'orec losure alternatlve optlons avallable to Nelp you Keep your home or
          ease your transltbon to a new Mome .
          STEP 2: CONTACT US
          We want to make mo<lfylng your Fortgage loan as easy as Dosslble.
          However; you mupt téke tbe'.f'
                                       nrst.step by contactlng us toll free at.
          866-924-3857 -                                            .      . r  ,
          You may also:writ: to .qs at the addrez: at the to: of thls) lefter. Be
                               .
          sure to lhclude the A
                              'nformatlön ll4tpd above. if you:h4ve an# questlons,
          please contact one of our Forec losure Preventlon Speclalssts by calllng
          toll free at 866-924-3857 between tne Mours of 8 a.m. ET '
                                                                   and 1.
                                                                        1 p-m.:;T.:
                      '                      '
          IMPORTANT NOTI        7.   .       t
                                           ..,        u
                                                      .. .
                                                         L.    ' '(           .. ,...
                        LCE = We Want to Melp you Mvpld eoreclosure scams.
                Beware of Foreclosure Rescue Seams. Helo ls free !
          *Tïere ls n#ver a fee to get asslstance or lnformatlon about 1Ne Maklng Home
           Affordable Program from vour lender or a éoD-approved Mouslng counselor.
             -
               For a HuD-approved counselor , vlslt:
           .   bttp://www-hud.gov/offlces/hsg/sfh/hcc/fc/
          *excnange
           Beware o'for
                     anyhousA
                         perlng
                             on counsellng
                                or organlzatlon that asks you to paF a fee ln
                                           servlces or modlfbcatlon of a
           dellnquent loan .
          *Beware of anyone wMo says tMey can ''save'' your home 1f you slgn or
           transfer over tMe deed to your house. Do not sbgn over 1he deed to your
           property tg apy orglnl<atlon or lndlvldual pnless you are Worklng
.
    ==   -.vxt+rec+N w4tn-youm ëorfkake-compdny-tu-forg-lve #ou'
                                                               r debt.
                                                                     -               '     =:     '-
          *N
           company
            ever make your mort
                   wlthout     gage
                           thexr    paymenls lo anyone other tnan your mortgage
                                 approval.
          Slncere ly,
          Aurora Loan Servlces
          Enclosures: ImportFnt Notlce, Important Notlce Regardqng Credit Bureau
                         ReportAng Related to HAMP Trsal Perlod Plan
          Aurora Loan Servlces ls a debt collector. Aurora Loan Servlces ls
          att
               emptlng to collect a deht and any Anformatlon obtalned wlll'be '
          used for that Durpose. However. 1f you are ln bankruptcy or recelved
          a bankruptcy dlscharge of tb ss debtv thss coM nunlcatlon ls not an
          attempt to colleçt the debt asalnst vou personally. but ls notlce
          of a Dosslbqe enforcement of tMe qsen agaqnst the collalera: property .



                                       ExhibitN,pg 3 of5
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                            IMPORTANT NOTICE
 If a duly-notlr ed 'orec7osure sale has been scneduled , any approval o' a
 'orpclosure alternatlve optlon ls contlngent uDon tNe ablllty of Aurora
 Loan Servlces LLC (Aurora Loan Servlces) to have the pending foreclosurB
 sale postponed or cancelled.



Aurora Loan Servlces ls a debt collector . Aurora Loan Servlces ls
attemptlng to collect a debt and any lnformatlon obtalned W A
                                                            'll be
used for that purpose. Howeverx 1: vou are ln bapkruptcy or recelved
a bankruptcy d lscharge of tnls debt. tnls co>nunAcgtnon ls not an
attempt to co llect the deb: agalnst 7ou personally , bu1 $s notlce
of a posslb le enforcement of tNe llen aga lnst tMe collateral property .




                     ExhibitN ,pg 4 of5
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 Important Notlce Coneërnlng Credlt Bureau Reportlpg Related to the
                     HAMP Trlal Perlod Plan (uP1ann)
When you bepln a Plan ? Aurora Loan Servlees LLC (Aurora Loan Servsces)
W 11
   .
     1 cease report !ng the repayment status oF your loan monthly to
credlt bureaus dur 1ng the term of the Plan . If the Plan 1: completed
successful1v ? and 1f a flnal modlflcat1on of your loan ls approved ,
Aurora Loan Servlces w 117 report tMe repayment status of your loan
to the credst bureaus under the terms of tNe loan mod lflcat $on .
Tf-ine Plan ls not successfuliy completed, or 1* a 'lnal modlflcatlon ls
not approvedv Aurora Loan Servsces wl11 resume reportlng tMe repaymenl
Status of your loan to tMe cred lt bureaus based on tNe contractual
status o' your loan at tbe tlme tbe Plan was' not completed , or a flna:
modlflcatlon of ypur loan was not approved. Thls mean: that 1f the Plan
payment amounts were less than the eontractua; payments due on your
loan, and you do not brsng Four lban eontractually current at tbe tlme
the Plan ls not completed or a flnal modlflcallon o' your loan ls not
approved , the records o f tbe credlt bureaus may reflect the repayment
status of your loan as contractualqy de llnquent durlng the Plan perlod .
NOTE : Thls means that 1Me records of the credlt bureaus mav reflect
the reDavment status of vour loan as contractuallv dellncuent durln?
the Plan oerlod even $: vou were maklno tMe oavmenis reculred bv
tNe Plan aareements.

Aurora Loan Servlces is a debt co llecAor. Aurora Loan Servlces ls
attemptlng to collect a debt and any lnformatlon obtalned W111 be
used for th'
           at purpose. However, 1* you are ln bankruptcv or recelved
a bankruptcy d 3scharge of thls Qebt, tnls cömmunlcatlon ls not an
attempt to collect the debt agalnst you pYrsonally, but ss notlce
of a posslble enforcement of the llen agannst tNB collateral Dropertv .




                       ExhibitN ,pg 5 of5
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                                                                          The Loop CenterBuilding
                                                                            105 W .MadiK n Street
                                                                                        Suite 2100
 K ahrlW utsch er LLP                                                       Chicago,Illi
                                                                                       nois 60602
                                                                                 TeI.(888)339-5282
                                                                                 .

                                                                                 Fax (8* )581-9302
                                                                                        w- .kw-llp.com

                                                                                        Emlly Garrlson
                                                                             EGarrison@kw-llp.com
  Septem ber1,2010                                                                   V ia RegularM ail

 John J.K orm an
 934 SW 21stW ay
 BocaRaton,FL 33486
 R E: VariousCom m lm icatioxs
      Borrowen :John J.Korm an and Pam eh Korm an
      Property ïM tion:934 SW 21stW ay,Roes Raton,FL 33486
      Loan No.* 39153879

 D earJolm J.Korman:

        Asyou recallswerepresentAum m Loan ServicesLLC CW urorr linconnectionwiththe
 above-nam ed matter. n is law firm and its Iawyers are notdebt collectors,and this is notan
 attemptto collectany debt. However,any information obtained may be used forthe purpose of
 debtcollection.n isletterrespondstoyouruntitledcommunicationspur rtedlydatedJuly12,
 2010 and July 19,2010,copiesofwhich are included here foryourconvenlence.
        W e previously provided you with various docum ents, inform ation and disclosures in
 writing on M arch 24,2010,April23,2010,M ay 18,2010,June9,2010 andJuly 12,2010,and
 ask again that you please review those item s carefully. W e believe your concerns were
 addressed in ourprior correspondence!and the documentsand inform ation we provided with it.
 A copy ofourpriorco= spondence islncluded again here foryoureaseofreference.
         In addition,w e included with our prior correspondence a com plete copy of the loan
 origination fle forthe Ioan referenced above,including without Iim itation copies of the note,
 security instrument,disclosures,application materials,credit reports,underwriting docum ents,
 appraisals,andclosing documents.W ealso hwluded with ourpriorcorresqondenceadetailed
 Paymenthistory for+ atloan. W e also described tlw currentholderand servloeroftikedebt the
 nam e of the current owner of the debt, the name and address of the original creditor, and
 provided additionalinform ation and docum entation evidencing or othelw ise verifying the debt.
 In shorq we yrovided you with extensive information and documentation regarding the
 ownership,origlnation,and servicing ofthe loan,in clearand concise language.

        Ple.
           nRenotetIIM requeststoAuroramustrelatetotheservicingofthesubjecthomeIoan
 and should include a statementofthe reasons you believe the account is in error.In review ing
 yourcommunicationts),youdonotappeartomakeanyrequestsorraiseanyissuesrelatedtothe

                     C A LlF O R N 1A - lLLIN O lS - W A S H IN G T O N ,D .C.

                                Exhibit0 ,pg 1 of2
Case 9:12-cv-80364-KAM Document 1-6 Entered on FLSD Docket 04/05/2012 Page 26 of 47




  K ahrlW utscherLLP                                                          Emil
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                                                                                   ger
                                                                                     risofo2n
                                                                                     2



 servicing ofthesubjectloan and instead assertincorrectand tmsupportableallegationsrelating
 solely to supposed ad sand om issions ofperso s or entities otherth= A urora.W e further note
 thatyourcommunicationts)andmlatedallegatonsagain failto mentionanyissueorpurported
 error xlating to the xrvicing of th* molg e loan referençed above.To the extent that
 statem ents in your letfer consist of allegations of wrongdoing of any nature by A urora or
 otherwise, Aurora denies your allegations, and respectfully requests that you review the
 documentsand information provided with thisand/orany previouscorrespondence forfurther
 explanation and clmifk ation.

        Nevertheless,subjectto and withoutwaivingany objections,Aurol'
                                                                     a respondsto yotlr
 alleged additionalrequestsasfollows:                         '                      '

 Request:'fF/loisAuroraLoanServicesLLC aervfcïngtheabove-referencedaccountfor?''
 Resçonse:Subjed to and withoutwaiving any objections,Aurorastatesthatitpreviously
 provldedtoyouthenameofthecurrentownerofthesubjectloanandstatesagainherethatthe
 nam e ofthecurrentow nerofthe debtis:Lehm an BrothersHoldings lnc.745 Seventh Ave.,71
 Floor,Nbw York,' N Y 10019.

         It is Aum ra's m sition that its previous resm nses, as well ms the docnm entation,
 inform ation,and disclosures provided therew ith,have been responsive to aIlof your inquiries.
 Therefore.Aurora willnotresm nd to anv furthercomm unications from vou thatm erelv rex at
                                                                                         -

 vourpriorrenuests.dem ands orallegationsorwhich ax vazue >nd am bizuous.How ever,ifyou
 have new concernsrelating to the servicing oftbe above-x ferenced Ioan account plemse describe
 yourconcernsin writing to usatthe addressand/orfax num ber above by specitk ally indicating
 the re>nonsyou believe theaccountis in error.

        Aurorastatesthatysubjectto andwithoutwaivinganyobjèctions,itreservesanyanda1l
 rightsand powersofsaleafordedtoitbythenoteandsecurity instnzmentrelatedto theabove
 referenced loan accpuntand property,sublectto applicable state and federallaw.

        Due'tothenatureofyourcommunications,westronglyrecommendthatyouconsultwith
 a localattorney aboutyourhom e Ioan rights2obligations and llabilities.Ifyou already have legal
 counsel representing you, please provlde their contact information so that further'
 com m unicat-lonscan be sentdirectly to thatindividual.

                                            Sincerely,
                                                   *




                                            Emily Garrison
 Enc.

                                               2
                                    Exhibit0 ,pg 2 of2
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                                 John Korm an
                                934 SW 21W ay
                           BocaRaton Florida33486
  July 22,2008
  A urora Loan Services
  2617 College Park D rive
  ScottsbluffN E 69361
  A ttention Correspondence

  SentCerti/edM ail# 7008015000012475 1319
  D ear Correspondence;

  To W hom ltM ay Concem :

  Thisletterisbeing sentto you in responseto the repeated phone callsto my
  hom e.Beadvised thatthe Settlorofthem ongagehasdischarged it,Go to
  hûp://-    .co.palm -beach.i.us/ then lookup publicrecords,tmderm y
  nam e.

  Thisnotice is also being sentpursuantto the FairD ebtCollection Practices
  Act,15 U SC 1692g Sçc.809 (b)thatyourclaim isdisputed and validation is
  now being requested to align ouraccotm ting.

  This is N O T a requestfor tçverifscation''orproofofm y m ailing address,but
  a requestforV A LID A TIO N m ade pursuantto the above nam ed Title and
  Section.lrespectfully requestthatyouroffices providem e w ith com petent
  evidence thatIhave any legalobligation to pay you      .




  Atthistim eIwillalso inform you thatifyourofficeshavereported
  invalidatedinformationtoanyofthe3majorCreditBureaus(Equifax,
  ExperianorTransUnion)thisactionmightconstitutefraudunderb0th
  Federaland StateLaw s.D ueto thisfact,ifany negativem ark isfound on
  any ofm y creditreportsby yourcompany orthecompany thatyou represent
  lwillconsiderbringing legalaction againstyou forthefollowing:

  V iolation ofthe FairCreditR eporting A ct.
  V iolation ofthe FairD ebtCollection Practices A ct.
  D efnm alion of Charactert
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 Ifyourofsces are able to provide the properdocum entation asrequested in
 the follow ing D eclaration,Iw illrequire atlemst30 days investigating this
 inform ation and during such tim e a1lcollection activity m ustcease and
 desist.

 A lso during thisvalidation period,ifany action istaken which could be
 considered detrim entalto any ofmy creditreports,lwillconsultwith m y
 legalcounselforsuit.Thisincludesany listing any information to a credit
 reporting repository thatcould be inaccurate orinvalidated orverifying an
  accountasaccuratewhen in factthereisnoprovidedproofthatitis.

 lfyourofficesfailto respond to thisvalidation requestwithin 30 daysfrom
 thedate ofyourreceipt,al1referencesto thisaccountm ustbe deleted and
 completely rem oved from m y creditflle and acopy ofsuch deletion request
 shallbesentto me im m ediately.

 I w ould also like to request,in w riting,thatno telephone contactbe m ade by
 youroflcestomy homeortomyplaceofemplornent.lfyouroffces
  attem pttelephone com m unication w ith m e,includm g butnotlim ited to
  com putergenem ted calls and calls or correspondence sentto or w ith any
 third parties,itw illbe considered harassm entand Iw illhave no choice but
 to expose tllisillegalactivity to the FederalTradeComm ission.A 11future
 comm unicationsw ith m eM UST bedonein writing and sentto theaddress
 noted in thisletterby USPS.

 ltwould be advisable thatyou assurethatyourrecordsare in order.Thisis
 an attem ptto correctyourrecords;any inform ation obtained shallbe used
 forthatpurpose.

 BestRegards,




 /S/Jolm K orm an

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                           Explanation ofSecuritization
                                            Richard
Introduction                                Kessler
Securitization takes a com m onplace,m undane transaction and m akes very strange things happen.
This explanation w illshow that,in the case ofa securitized m ortgage note,there is no party w ho
has the law fulrightto enforce a foreclosure,and the paym entsalleged to have been in defaulthave,
in fact,been paid to the party to w hom such paym entswere due.
Additionally,in the case of a securitized note,there are rules and restrictions thathave been
im posed upon the purported debtorthatare extrinsicto the note and m ortgage*as executed by the
m ortgagorand m ortgagee,rendering thenote and m ortgage unenforceable.
Thisexplanation,including itscharts,w illdem onstratehow securitization isa failed attem ptto use
a noteand a m ortgage forpurposesforw hich neitherw as everintended.
Securitizationconsistsofafourway amalgamation.Itispartly 1)arefinancingwith apledgeof
assets,2)asaleofassets,3)an issuanceand sale ofregistered securitieswhich can be traded
publicly,and 4)theestablishmentofatrustmanaged bythirdpartymanagers.Enacted law and
case law apply to each com ponent of securitization. How ever, specific enabling legislation to
authorize the organization of a securitization and to harm onize the operation of these diverse
com ponentsdoesnotexist.
W hy w ould anyone issue securities collateralized by m ortgages using the structure of a
securitization? Considerthe follow ing benefits.Thosew ho engage in thispracticeareable to...
       Im m ediately liquidate an illiquid assetsuch as a 30 yearm ortgage.
   2. Maxim ize the am ount obtained from a transfer ofthe m ortgages and im m ediately realize
      the profitsnow .
   3. Use theliquid fundsto enter into new transactions and to earn profitsthatare im m ediately
       realized...again and again (as wellas the fees and charges associated with the new
       transactions,andtheprofltsassociatedwiththenew transactions...andso on).
   4. Maxim ize earnings by transferring the assets so thatthe assets cannotbe reached by the
       creditorsofthetransferorinstitutionorbythetrusteeintheeventofbankruptcy.(Bybeing
       ''bankruptcy-rem ote'
                           'the value to investors ofthe illiquid assetsis increased and investors
       arewillingtopaymore.)
   5. Control m anagem ent of the illiquid asset in the hands ofthe transferee by appointing
      m anagerswho earn service feesand m ay be affiliated w ith thetransferor.
   6. Be able to em pow erthe transferorby financially supporting thetransferred assetby taking
      a portion ofthe firstlosses experienced,ifany,from default,and entering into agreem enu
      to redeem orreplace m ortgagesin defaultand to com m itto providing capitalcontributions,




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       ifneeded,in orderto supportthe financialcondition ofthe transferee (In otherwords,
       providea100% insuredprotectionagainstlosses).
       Carrythereservesandcontingentliability(forthesupportprovidedinparagraph6)offthe
       balance sheetofthe transferor,thereby escaping any reserve requirem entsim posed upon
       contingentIiabilitiesthatw ould otherw ise be carried on the books.
   8. Avoid the effectofdouble taxation of,tlrst,thetrustto w hich the assetshave allegedly been
      transferred and,second,the investorw ho receivesincom e from thetrust
       Insulatethe transferorfrom liability and m ovesthe liability to the investors.
   10.Leverage the m ortgage transaction by creating a m ortgage backed certificate thatcan be
      pledged as an asset w hich can be re-securitized and re-pledged to create a financial
       Pyram id.
   11.Create a new financial vehicle so m ind num bingly com plicated that alm ost no one
      understandsw hatisgoing on.
The obviousbenefitoftheabove #11 isthatcourtsare predisposed to dgbelievetheallegation that
a securitized note is no longerenforceable.To a reasonable person,the claim thata m ortgage note
is unenforceable m erely because it has been securitized does sound som ewhat outlandish.And
frankly,the m ore com plex and difficultthe securitized arrangem entis to explain and perceive,the
morelikely ajudgmentin favorofthe''lender''willbeinlitigation.
Simply stated,thevastmajority oflitigants- and judges- have notbeen properly informed asto
thetruenature ofthistype oftransaction.Thisissaid notto insultanyone.Quiteto the contrary,
thisisjustto say thatthe trueidentity oftherealparty in interestisableto beobfuscated in the
labyrinth ofthe securitization schem e such thatwhoever steps folw ard claim ing to be thatparty
and show ing docum entation appearing to be legitim ate isassum ed to have standing,and there are
too few know ledgeable challengersofthatm iso ken assum ption.
So m uch m ore so in the case ofthe ''laym an''hom eow ner.M osthom eow nershaveno idea thatthe
transaction being referred to as a debtand as an obligation thatthey mustpay orbe subjectto
foreclosure,hasactually already been paid.And notjustonce!In caseswhere a defaulthasbeen
alleged,thesecuritizednotehaslikelyalreadybeensatisfied(notjustsoldand/orassigned)fouror
five tim esover.
Securitization is a productofthe genius ofcapitalism .As long as profits continued to be m ade,all
participantsdid very w ellfrom this creative new financialarrangem ent,and blissreigned suprem e.
Then the othershoe dropped.
There isa m ortgage defaultcrisisunderway in the United Statesand a creditcrisis caused by toxic
assets in the secondary m ortgage m arket.Goldm an Sachs estim ates that,starting atthe end ofthe
lastquarter of2008 through 2014,13 m illion foreclosures willoccur.The Center for Responsible
Lending,based on industry data,predicted 2.4 m illion foreclosures occurred in 2009,and that
there w ould be a tom lof9 m illion foreclosures between 2009 and 2012.At the end ofthe first
quarter of 2009,m ore than 2 m illion houses w ere in foreclosure.M ortgage Bankers'Ass'n,Nat'l
Delinquency Survey Q109 at 4 (2009) reporting that 3.85% of 44,979,733,or 1.7 million,


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m ortgages being serviced w ere in foreclosure,Roughly half ofthese w ere serviced by national
banks or federalthrifts.Over twelve percent ofallm ortgages had paym ents past due orw ere in
foreclosure and over 7% w ere seriously delinquent- either in foreclosure or m ore than three
m onthsdelinquent
These spiraling foreclosures w eaken the entire econom y and devastate the com m unities in which
they are concentrated.According to The Subprime Lending Crisis:The Econom ic Impacton W ealth,
Property Vnluesand Tax Revenues,and How H'E'GotHere,foreclosed homeownersareprojected to
lose$71billion dueto foreclosurecrisis,whileneighborswilllose$32 billion,and stateand local
governmentswilllose$917 million inpropertytaxrevenue.


* atis a Securitization?
In the m ortgage securitization process, collateralized securities are issued by, and receive
paym ents from ,m ortgagescollected in a collateralized m ortgage pool.The collateralized m ortgage
poolistreatedasatrust.Thistrustisorganizedasaspecialpurposevehicle(''SPV'')andaqualified
specialpurposeentity ('TQSPE'')whichreceivesspecialtaxtreatment.TheSPV isorganizedbythe
securitizer so thatthe assets ofthe SPV are shielded from the creditors ofthe securitizer and the
partiesw ho m anage jt.Thisshielding isdescribed asm aldng theassets''bankruptcy rem ote't
To avoid double taxation ofboth the trustand the certificate holders,m ortgages are held in Real
Estate Mortgage InvestmentConduits (''REMICS'').To qualify for the single taxable event,all
interestin the m ortgage issupposed to be transferred forward tothe certificate holders.
Thelegalbasis ofREMICSwasesoblished by theTax Reform Actof1986 (100 Stat.2085,26
U.S.C.A.5j 47,1042),which eliminated double taxation from these securities.The principal
advano ge of form ing a REM IC for the sale of m ortgage-backed securities is that REM IC'S are
treated as pass-through vehicles for t.
                                      ax purposes helping avoid double-taxation.For instance,in
mostmortgage-backedsecuritizations,theownerofapoolofmortgageloans(usuallytheSponsor
orMasterServicer)sells and transfers such loansto a QSPE,usually a trust,thatis designed
specificallytoqualifyasaREMIQ and,simultaneously,theQSPE issuessecuritiesthatarebacked
by cash flow s generated from thetransferred assetsto investors in orderto pay forthe loansalong
w ith a certain rem rn.lfthe specialpurpose entity,orthe assets transferred,qualify as a REM IC,
then any incom e ofthe QSPE is f'passed through''and,therefore,nottaxable untilthe incom e
reachesthe holders ofthe REM IC,also know n as beneficiariesofthe REM IC trust.
Accordingly,the trustee,the QSPE,and the other parties servicing the trust,have no legalor
equitable interestin thesecuritized mortgages.Therefore,any servicer who allegesthatthey are,or
thatthey have the right or have been assigned the right,to claim thatthey are the agentforthe
holder ofthe note for purposes ofstanding to bring an action offoreclosure,are stating a legal
im possibility.Any argum ent containing such an allegation w ould be a false assertion.Ofcourse,
thatisexactly w hatthe servicerofa securitized m ortgagethatispurported to be in defaultclaim s.
The sam e is the case w hen a lenderm akes that sam e claim . The party show n as ''Lender''on the
m ortgage note w as instrum entalin the sale and issuance ofthe certificate to certificate holders,
which m eansthey knew thatthey were notany longerthe holderofthe note.


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The QSPE is a weak repository and is not engaged in active management ofthe assets.So,a
servicing agentisappointed.M oreover,alllegaland equitable interestin the mortgagesarerequired
à# the REMIC to bepassed through to the cert@cate holders.Compliance with the REMIC and
insulatingthetrustassetsfrom creditorsofthirdparties(whocreateorservicethetrust)leadsto
unilateralrestrucm ring oftheterm sand conditionsoftheoriginalnote and m ortgage.
The above fact,and the enorm ousim plicationsofit,cannotbe m ore em phatically stressed.
A typicalm ortgage poolconsists ofanywhere from 2,000 to 5,000 loans.This representsm illionsof
dollarsincashflow paymentseachmonthfrom aservicer(receivingpayment.    sfrom borrowers)to
a REMIC (QSPE) with the cash flow f'passing through'',tax-free,to the trust (REMIC).Those
proceeds are nottaxed untilreceived as incom e to the investors.Only the investors have to pay
taxeson the paym ents ofm ortgage interestreceived.
Thetaxes a trustw ould have to pay on 30,50,or100 m illion dollars peryearifthis''passthrough'    '
taxation benefitdidn'texistw ould be substantialand itwould,subsequently,low erthevalue ofthe
certificates to the investors,the true beneficiaries ofthese trusts.W orse,w hatwould bethe case if
a trust that was organized in February 2005 were found to have violated the REM IC guidelines
outlinedintheInternalRevenueCode?At$4m illionpermonthin cashflow,therewould ariseover
$200million in incomethatwouldnow beconsideredtaxable.
It is w orth repeating that in order for one of these investm ent trusts to qualify for the ''pass
through''taxbenefitofaREMIC(inotherwords,tobeabletoqualifytobeabletobereferredtoas
aREMIC),ALLLEGALAND EQUITABLEINTERESTIN THEMORTGAGESHELDIN THENAMEOFTHE
TRUSTARE VESTED IN THEINVESTORS,notinanyoneelseATANYTIME.Iflegaland/orequitable
interest in the mortgages held in the nam e of the trust are claim ed by anyone other than the
investors, those that are m aking those claim s are either defrauding the investors, or the
hom eow ners& courts,orboth.
So,ifthe trust,ora servicer,ora trustee,acting on behalfofthetrust,isfound to have violated the
very strictREMICguidelines(putin placein orderto qualifyasaREMIC),the''passthrough''tax
status of the REM IC can be revoked. This, of course, w ould be the equivalent of financial
Arm ageddon forthe trustand itsinvestors.
A REMIC can bestructured asan entity (i.e.,partnership,corporation,ortrust)orsimply asa
segregated poolofassets,so long asthe entity or poolm eet,s certain requirem ents regarding the
com position ofassets and the nam re ofthe investors'interests.No teax is im posed at the REM IC
level.To qualify asa REM IC,alloftheinterests in the REMIC m ustconsistofone orm ore classesof
''regularinterests''and a single classof'residualinterests.'
Regular interests can be issued in the form of debt, stock, partnership interests, or trust
certificates,or any other form ofsecurities,but m ustprovide the holderthe unconditionalrightto
receiveaspec@edprincipalamountand interestpuyments.REMIC regularinterestsaretreated as
debt for federaltax purposes.A residualinterest in a REM IC,which is any REM IC interestother
than a regularinterest,is,on the otherhand,taxable as an equity interest.
According to Section 860 ofthe InternalRevenue Code,in order foran investm ententity to qualify
asaREMIC,allstepsin the''contribution''and transferprocess(ofthenotes)mustbetrueand


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 com plete sales between the parties and m ustbe accom plished w ithin the three m onth tim e lim it
from the dateof''startup''oftheentity.Therefore,every transferofthe notets)mustbeatrue
purchase and sale,and,consequently the note m ustbe endorsed from one entity to another. Any
mortgagenote/assetidentifiedforinclusioninanentityseekingaREMICstatusmustbesoldinto
theentity w ithin the three m onth tim e period calculated from the officialstartup day ofthe REM IC.
Before securitization, the holder of an enforceable note has a financial responsibility for any
possiblelossesthatm ay occurarising from a possible default,which m eansthatholderalso has the
authoritytotakestepsto avoid any such losses(therightto foreclose).Securitization,however,
effectively severs any such financialresponsibility for losses from the authority to incur or avoid
those losses.
W ith securitization the m ortgage is converted into som ething different from w hat was originally
represented to the hom eow ner.Foronethinp since the party m aking the decision to foreclose does
notactually hold any legalorequitable interestin any securitized m ortgage, they have notrealized
any loss or dam ages resulting from the purported default.Therefore, it also follows that the
foreclosing party avoids the liability w hich could result ifa class ofcertificate holders claim ed
wrongfulinjuryresultingfrom amodificationmadetoachieveanalternatedisputeresolution.
Securitization also m akes the m ortgage and note unalienable. The reason is sim ple: once
certificates have been issued,the note cannotbe transferred, sold or conveyed;atleastnotin the
sense that such a transfer,sale,or conveyance should be considered law ful, legal,and legitim ate.
Thisisbecause the securitized note foreverchangesthe nature ofthatinstrum entin an irreversible
way,m uch in the sam e w ay that individual straw berries and individual bananas can never be
extracted,intheir''
                  whole''form,from astrawberrybananamilkshakeoncethe/vebeendropped
in the blenderand the blendingtakesplace.
Itm ightappear thatthe inability to alienate the note hasno adverse consequences forthe debtor,
but recent history disproves this notion. Several legislative and executive efforts to pursue
alternate dispute resolution and to provide financialreliefto distressed hom eow ners have been
thw arted by the inability ofthe United States governm ent to buy securitized m ortgages w ithout
purchasing m ostofthe certificatesissued.
An SPV cannotsellany individualm ortgagebecause individualm ortgagesare notheld individually
by the certificate holders;the thousands ofm ortgages held in the nam e ofthe REM IC are ow ned
collectivek bythecertificateholders.Likewise,thecertificateholderscannotsellthemortgages.All
thecertificate holdershave arethe securities,each ofw hich can bepublicly traded.
The certificate holders are,in no sense,holdersofany specificindividualnote and have no legalor
beneficial interest in any specific individual note. The certificate holders do not each hold
undivided fractionalinterests in a note which,added together, total100% .The certificate holders
also are notthe assigneesofone orm ore specificinstallm entpaym entsm ade pursuantto the note.
Forthe certificate holder,there is no note.A certificate holder does notlook to a speciflc note for
their investm ent's incom e paym ent.lnstead, the certificate holder holdsa security similar to a
bond w ith specific defined paym ents.The issuer oftrust certificates is selling segm ents ofcash
flow .



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The conceptofsecuritization is brilliant.Itbegan as a sim ple idea;a w ay to convertilliquid,long
term debt into liquid,tradable short term debt,It cashes outthe lender,allow ing the lender to
m akenew ''loans''while realizing an im m ediate profiton the notessold.


The Charl

In orderto m ore easily identify thepartiesand theirrelationship to the securitization arrangem ent,
itis usefulto view itin diagram form .The partiesto a securitization and theirrelationshipsto each
other,including the duties and obligations one party ow es to anotherpartp is referred to on W all
Street as ''The Deal'.The Dealis created and defined by whatfunctions as a declaration oftrust,
also know n as''the m asterservicing and pooling agreem ent''hereafter 'pooling agreem ent'.
Char.
    t1 below show sa NetAssetTrustcreated to convertlong term m ortgage debtinto shortterm ,
publicly traded securities.

                                                Chart1


                                   LegalTitle



                                    Trust**
                                                           *                              franche A
                                                                                          Tranche B
                                                                                          Tranche G-n
                                                                        * n*II<Ipl-r1t*
                      Nhx%@*:*@                          Certificales



                                  Collal- alPool
                                  (Teultl




                                      A sset Trust




The transferorpurchasesa ponfolio ofm ortgagesand sellsthem to a trust.Thetrustpurchasesthe
m ortgages.The trustee holds the m ortgages and becom esthe holder oflegaltitle.The trustthen



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issues a bond to the investors; debenm re-like certificates.The bond issues different classes of
certificates,called tranches.
The certificate entitles the certificate purchaserto cero in stated,repeated segm ents ofcash flow
paid by the trust The certificate holders do not hold fractional, undivided interest in the
m ortgages.lnstead,each tranche is entitled to an identified,segm ented poolofm oney payable in
an orderofpriority.A seniortranchewillgetpaid beforeajuniortranche.A juniorrateprovidesa
higherprom ised rate ofreturn because ithasa higherrisk than a seniortranche.Anothertranche
existsthatpaysinterest,butdoesnotpay outprincipal.
The type and variety oftranche that is created is lim ited only by the lim its offinancialingenuity.
Trancheshave been created w hich pay only a portion ofprincipalrepaid on the m ortgagesbutno
interest.
The investorsbuy the m ortgages from the transferor by paying cash to the trustee w ho pays the
transferor.The investors purchase securities (certificates) which are collateralized by the
m ortgages held in trustin the collateralpool.Legaltitleto the m ortgagesis held by the trustee and
beneficialtitle isowned by the investors.
Only the extrem ely saw y debtorin thisarrangem entwould know thathe should perhaps begin to
becom e concerned upon learningthathism ortgage note had been sold to atrustand exchanged for
certificatesthatare issued to unknown beneficiaries(investors)whosecertificateswereissued
underone ofm any differenttypesoftranches.How ever,the debtors- the hom eow ners;thepeople
w ho provide the incom e thatfunds the entire securitization schem e - have no say in the m atter
because they are never told what w ill be done w ith their note. It is never disclosed in the
transaction.
So,w hereas it w ould O ke an extrem ely savvy person to understand w hy this arrangem ent is
potentially troublesom e to the hom eow nerwhose note hasbeen used in thisw ay,itw ould takean
om niscienthom eow nerto know thatsecuritization is even going on in the firstplace.Forreasons
already stated above,it is notonly disingenuous to suggestthatsecuritization does notaffect the
rightsofthe debtor,itisdownrightdishonest.
Nevertheless,for purposes ofbreaking down the topic into bite-sized pieces:suffice itto say that
the trustpurchased m ortgages and sold certificates.Another way to describe it:the trustbought
cattle and w ound up selling ground beef.
This then raises questions suitable for a law schoolexam ination or law journalarticle:ére the
purchasersofthesecert@catesrealk benepcialholdersofthenote,oraretheymerek purchasersofa
contractri ghttopaymentfrom thetrust?Inotherwords,Isthetrusteelimitedtobeing theholderof
legaltitle,ordoesthetrusteealsoholdthebenepcialtft/e?W hilethesemaybegoodquestionsforan
academ ic exercise,they aren't germ ane to defending the debtor being sued in foreclosure.The
reason isthatundereithercase,thetrustee has standingto foreclose.
M ore germ ane isthe fad isthatan assettrustislikely notthe type ofsecuritization vehicle to hold
a debtor's m ortgage.This is because W allStreet decided to im prove the 'assettrustparadigm ''.If
the Dealcould be m ade safer for,and m ore lucrative to,the investor,the investor w ould pay m ore



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forthe investm ent.Thiswasaccomplishedby adding objectives2-11tothelistalreadyreferred to
above,shown again below :


   1. Im m ediately liquidatean illiquid assetsuch asa 30 yearm ortgage.
   2. M axim ize the am ountobtained from a transfer ofthe m ortgages and im m ediately realize
      the profitsnow .
   3. Use the liquid funds to m ake new loans and earn profits thatare im m ediately realized...
       again and again (aswellas the fees and charges associated with m aking loans,and the
       profitsassociatedwithliquidatingthenew loansasquicklyaspracticable..,andsoon).
   4. M axim ize earnings by transferring the assets so thatthe assets cannotbe reached by the
       creditorsofthetransferorinstitutionorbythetrusteeintheeventofbankruptcy.(Bybeing
       ''bankruptcp rem ote''the value to investors ofthe illiquid assets is increased and investors
       arewillingtopaymore.)
   5. Control m anagem ent of the illiquid asset in the hands of the transferee by appointing
      m anagersw ho earn servicefeesand m ay be affiliated with thetransferor.
   6. Be able to em pow er the transferorto supportthe transferred assetby taking a portion of
      the first losses experienced,ifany,from default,entering into agreem enu to redeem or
      replace m ortgages in defaultand com m it to providing capitalcontributions,ifneeded,in
      orderto supportthe financialcondition ofthetransferee.
   7. Carry the reserves and contingentliability forthe supportprovided in paragraph 6 offthe
      balance sheet ofthe transferor,thereby escaping any reserve requirem entsim posed upon
      contingentliabilitiescarried on the books.
   8. Avoid the effectofdouble taxation of,flrst,thetrustto w hich the assetshaveallegedly been
      transferred and,second,the investorw ho receivesincom e from the trust.
   9. Insulatethetransferorfrom liability and m ovestheliability to the investors,
   10.Leverage the m ortgage transaction by creating a m ortgage backed certificate that can be
      pledged as an asset w hich can be re-securitized and re-pledged to create a financial
      Pyram id.
   11.Create a new financial vehicle so m ind num bingly com plicated that alm ost no one
      understandsw hatisgoing on.
The netasset trust strucm re does not provide the additional 10 benefits ofsecuritization listed
above (items2through 11).Forinsonce,underthenetassettrust,theincome received by the
collateralpoolfrom the m ortgage debtors istaxed and the interestpaid to each investor is taxed
again.
To achieve the goals listed above,it becam e necessary to structure the Dealto create a pass
through trustand replacethe netassettrust.As show n in Chart2 show n below ,the Dealstartsoff




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on straight forward easily charted path.The path ofthe m ortgages identifies the note holder at
each sO ge...




                                                  Chart2



                              *   >   .       .    #




            DebtortMortgagor)



                                            N- He *e




                 Nœ   Nœ *r



    1. ORIGINATOR.The Transaction takes place between the debtor (mortgagor) and the
       creditor here called the ''originator''a.k a.the m ortgagee. The transaction consists ofthe
       m ortgage note and the m ortgage,The on'ginatorbecom esthe noteholder.
   2. W A REHOUSER.The originator sells the transacdon to the w arehouser. The w arehouser
      then becom esthe note holder.
    3. TM NSFEROR. The w arehouser buys the m ortgage and also buys other m ortgages to
       assem ble a portfolio ofm ortgages.The portfolio is then sold to the transferor w ho is the
       initiating party of the securitization.The transferor then becom es the note holder. The
       transferorcreatesthe securitization.




As previously stated, a portfolio for securitization typically contains from 2,000 to 5,000
m ortgages.



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There are m any different structures for securitization but the potential negative im pact of
securitization on the debtor is the sam e. The chart on the follow ing page show s a typical
securitization.




                                             Charu




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The structure seen above is called the ''Deal''.The Dealis created through a com plex instrum ent
that,am ong otherthings...

              Servesasa declaration oftrust,

       2. Identifies the parties w ho m anage the Dealand describes their duties,responsibilities,
          liabilities and obligations,




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       Definesthe differentclassesofinvestm entsecurities,and

   4. Iscalled the M aster Pooling and ServicingAgreem ent.

The instrum entis filed w ith the Securities and Exchange Com m ission and isa public record.This
docum entisthe m ost im portant source for discovery as itprovides the who,the how,the where,
and the when ofthe Deal.
Chart2 show sthe m ortgage portfolio in thehandsofthe transferorw ho wl.
                                                                       çthenote holder.
The Transferor.ln the ''new and improved'
                                        'securitization process (shown in Chart 3),the
transferor transfersthe m ortgages to the underwriter.In addition,the transferorm ay arrange for
credit enhancem ents to be transferred for the benefit and protection of investors. Such
enhancem ents m ay include liquid assets,other securities,and perform ing m ortgages in excess of
themortgageportfoliobeingsold.NOTE:thetransferoralsousualk obligatesftse/
                                                                        fto redeem and
replaceanymortgageindefault.
The Underw riter. The underwriter creates the securities and arranges to place the various
tranches ofsecurities (different classes ofcertificates)with investors.The underwriter then
transfersthe m ortgage portfolio and securitiesto the issuer.
The Issuer.Theissuerisorganized asaSpecialPurposeVehicle(SPV);apassiveconduittothe
investors.The issuerissuesthe securitiesto the investorsand collectspaym entfrom the investors.
Thepaym entsfrom the investors aretransferred through the unde- riterto the transferor.
The QSPE.The mortgage portfolio isconveyed from the issuerto the collateralpoolwhich is
organizedasa Qualifying SpecialPurposeEntity (''QSPE'').Aspreviouslystated,whatmakesthe
entity ''qualified''is strict adherence to a set ofrules.Am ong other things,these rules m ake the
QSPEapassiveentitywhichhasnolegalorequitabletitletothemortgagesinthemortgageportfolio
andrestrictrrlodt/icltfonofthemortgagesintheportfolio.
Asaresult,theQSPEprovidestotheinvestorsthebenefitofitsearnings(paidtoitbythemortgage
debtors)notbeingA-   qred.Theseearningsflow throughtheQSPE totheinvestors.Only theinvestors
are taxed atthe individuallevel.
Custodian.TheQSPE transfersthe mortgageportfolio to thecustodian who actsasabailee ofthe
assets.The custodian isa m ere depository forsafekeeping ofthe m ortgages.
Tranches-Theinvestorsinvestin differentclassesofsecurities.Each class iscalled a tranche.Each
tranche is ranked by order ofpreference in receiptofpaym entand the segm entofcash flow to be
received and resem bles a bond.The basic stratification by order of priority of paym ent from
highestto low estiscategorized asfollow s:seniornotes,m ezzanine notesand unrated equity.
Parties described in the M aster Pooling and Servidng Agreem ent The Deal establishes a
m anagem entstructure to supervise the investm ent The specific parties for a Dealare indentified
in the m aster Pooling and Servicing Agreem ent w hich states their duties and obligations,their
com pensation,and their liability.Typically the m anagers include:the M asterServicer,the Trustee,
the Subservicer,and the Custodian.



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       M aster SeM cer.The Master Servicer is in overallcharge ofthe dealand supervises the
       otherm anaging parties.
       Trustee.The day to day operations ofthe collateralpoolis adm inistered by the trustee.
       How ever,the trustee does very little since the trustm ustrem ain passive.The trustee does
       nothave a legalor equitable interestin any m ortgage in the portfolio because the trustis a
       m erepassive conduit.
       Subservicer. The Subservicer is responsible for dealing w ith the property ow ners;
       collecting m onthly paym ents, keeping accounts and financial records and paying the
       m onthly proceedsto thetrustee fordistribution to the investorsby orderoftranche.
       The Subservicer m ay also be responsible for foreclosure in the event a m ortgage is in
       default or som e deals call for the appointm ent of a special subservicer to carry out
       foreclosure.Usually the subservicer isobligated to m ake m onthly advancesto the investors
       for each m ortgage in default.ln addition,the subservicer m ay also have undertaken to
       redeem orreplaceany m ortgagein default.
       Counterparty.Finally,there isa counterparty to m ake sure thatinvestorsgetpaid on tim e.
       The counterparty is like an insurer or guarantor on steroids;a repository of allkinds of
       financialarrangem ents to insure paym ent to the investors.Such financial arrangem ent.s
       include derivatives,creditdefaultsw apsand otherhedge arrangem ents.
       The term ''counterparty''is frequently associated w ith ''counterparty risk''w hich refersto
       the risk thatthe counterparty w illbecom e financially unable to m ake the 'claim s' 'to the
       investors ifthere are a substantialnumber ofm ortgage defaults.The counterpao may
       guarantee the obligation ofthe transferor or servicer to redeem or replace m ortgages in
       default.The counterparty m ay also guarantee the obligation ofthe subservicer to m ake
       m onthly paym entsform ortgagesthatare said to be in default.


Questionsworth asking.W e now know thatan examination ofthe MasterServicing and Pooling
Agreem entfiled w ith the SEC w illrevealsubsm ntialbarriersto a law fulforeclosure.W e also know
thatthereare partiesinvolved in thisarrangem ent,asw ellasinsurance productsin place,intended
to financially f'cover''certain ''losses''in certain sim ations,such asan alleged default.
Inlightofthis,thereareafew questionstheSubservicerand/ortheSuccessorTrusteeand/orthe
foreclosure law firm w ho claim s to have the legal right and authority to conduct a foreclosure,
oughtto be prepared to answ erbeforethe foreclosuregoesforw ard:
       Haveyou read,and areyoufamiliar with,the MasterServicing and Pooling Agreement
       relatingtothismortgagethatwaspledwiththeSEC?
       TheServicer,s'ulucrWceriorsomeotherparty (counterparty)likely madeapaymentto thepart    .y
       who allegedlyownsthepum orted debtobligation.Thisptwrnentit   Tmade,wJ&intended to cover
       sumsthatarealleged tobel'ndefault Therefore,theparty wào allegedly ownsthepurporteddebt
       obligation has,hyvirtue of thatp/yment notbeen damaged in any wJ.
                      .                                                   y.Therefore,#'any sums
       havethuslybeenpaf; how isitbeing truthfulb stated thatt'defaulthasoccurred?


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   @ #'theinvestmenttrustthatostensibk ownsthemortgageobll
                                                         k
                                                         qation isa REMIC,the trustee,the
       QSPE,andtheotherpartiesservicing thetrust,havenolegalorequitableinterestinthesecuritized
       mortgages.Therefore,any servicerwho alleges thatthey have the rfvllt orthatthey have been
       assigved the right,to claim thatthey are the ageatfor the holderof the noteforpurposesof
       standing to bring anactionofforeclosure,arestating t'Iegalimpossibility.In Iightofthis,!)
                                                                                               # what
       authoritycanyoushow thatyoucanadministeralawfulforeclosure?
There are m any m ore questions that can and should be asked in such a situation.They a11stem
from one centralfact:a note thathas been securitized and subm itted to an entity qualifying as a
REMIC and organized as a Qualifying Special Purpose Entity,is not enforceable.That is an
incontroveY ble fact thatservicers of securitized m ortgages w illhave to cope w ith as m ore and
m ore hom eownersdiscoverthe truth.


Conclusion
Previously,itwasstatedthat,inorderfortheinvestmententitytobeaREMIC (inotherwords,in
orderfortheentity to beableto qualify forthesingletxxableeventasapassthrough entity),all
interestin them ortgage issupposed to betransferred forward to the certificate holders.
Well,infact,suchatransferneveroccurs.Eitherthatisthecase,orthepartieswhostatethatthey
have a rightto foreclose on a securitized note are notbeing truthfulw hen they presentthem selves
astherealparty in interest.
Inanycase,theycannothaveitbothways.Theservicercannotclaim toholdlegaland/orequitable
interestinthemortgagesheld inthenameofaninvestmenttrustthatalsoprovidesthe(REMIC)
passthrough tax benefitto its investors.
Does the M aster Servicing Agreem ent - m ade public through its filing with the Securities and
Exchange Com m ission - show thatthe entity is a REM IC? lfso,the note hasbecom e unenforceable
because the unnam ed parties w ho are receiving the pre-tax incom e from the entity are the real
partiesininterest.Theyholdthelegaland/orequitableinterestinthemortgagesheld,buttheydo
nothavetheability to foreclose on any one individualm ortgage because the m ortgagesheld by the
REM IC have al1been bundled into one big incom e-producing unit
TheIntroduction explainsthatsecuritizationconsistsofafourwayamalgamation.Itispartly1)a
refinancing with a pledge ofassets,2) a sale ofassets,3)an issuance and sale ofregistered
securitieswhichcanbetradedpublicly,and4)theestablishmentofatrustmanagedbythirdparty
m anagers.
Also discussed isthe factthatenacted law and case law apply to each com ponentofsecuritization,
but that specific enabling legislation to authorize the organization of a securitization, and to
harm onize the operation ofthese diverse com ponents,does not exist.This bears repeating even
m ore explicitly because this is central to the rights of a hom eowner facing foreclosure w hose
underlyingmortgagehasbeensecuritized:spec@cenablinglegislationtoauthorizethepassthrough
structureofatrustholdingamortgageport
                                    foliodoesnotexist.



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M any unresolved legalissues could be addressed ifthe Uniform Com m ercialCode Com m issioners
added a chapterforsecuritization.How ever,thathasyetto happen.
So as it now stands,a law fulforeclosure cannot occur against a m ortgage w hose note has been
securitized because ofthe lack ofan actualdam aged party w ho hasstanding to state a claim .




Richard Kessler is a graduate of Yale Law School
and a Washington , D .C . attorney .
documentaryclearinghouse .com




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